     Case 1:16-cv-06704-PAE-KNF Document 143 Filed 11/24/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ANTOINE ROSS,

                                      Plaintiff,                  16 Civ. 6704 (PAE) (KNF)
                       -v-
                                                                             ORDER
 CAPTAIN DION WILLIS, et al.,

                                      Defendants.


PAUL A. ENGELMAYER, District Judge:

       At yesterday’s conference, the Court set the following briefing schedule for defendants’

anticipated motions for summary judgment:

       •   The parties’ joint statement of facts is due December 10, 2020;

       •   Defendants’ motions for summary judgment are due December 24, 2020;

       •   Plaintiff’s oppositions to motions for summary judgment are due January 14, 2021;

       •   Defendants’ replies are due January 25, 2021.




                                                            PaJA.�
       SO ORDERED.

                                                           ____________________________
                                                           Paul A. Engelmayer
                                                           United States District Judge


Dated: November 24, 2020
       New York, New York




                                                   1
